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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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      A.Y.V.,                                         Case No. 5:19-cv-01582-SHK
12
                                   Plaintiff,
13
                         v.
                                                      JUDGMENT
14
      ANDREW M. SAUL, Commissioner of
15    Social Security,
16                                 Defendant.
17
18         It is the judgment of this Court that the Social Security Commissioner’s
19   decision is REVERSED and this case is REMANDED to the Social Security
20   Administration for further proceedings consistent with this Court’s Order.
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     DATED: 05/29/2020              ________________________________
23                                  HONORABLE SHASHI H. KEWALRAMANI
24                                  United States Magistrate Judge
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